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GAS 245B          (Rev. 11/16)Judgmeni in a Criminal Case
DC Custody TSR



                                         United States District Court
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                           SAVANNAH DIVISION

             UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                  V.

                   Jermond Anderson Curtis.
                             aka "Mon"                                           Case Number;                  4:I6CR00224-2

                                                                                 USM Number:                   21549-021




                                                                                 Stacey Goad
                                                                                 Defendant's Attorney
THE DEFENDANT:

[3 pleaded guilty to Count                I

□ pleaded nolo contendere to Count(s)                           which was accepted by the court.

□ was found guilty on Count(s)                         after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                                             Nature of Offense                                        Offense Ended         Count


21 U.S.C. § 846; 21 U.S.C. § 841(a)(1);                     Possession with intent to distribute and to                June?, 2016            I
21 U.S.C. § 841(b)(1)(C); and 18 U.S.C. § 2                 distribute controlled substances


       The defendant is sentenced as provided in pages 2 through                      of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

D The defendant has been found not guilty on Count(s)
13 Counts             5 through 19            are dismissed as to this defendant on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid, If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              October 31. 2017
                                                                              Date of Imposition of Judgment




                                                                              Signature of Judge



                                                                              William T. Moore, Jr.
              U 8. OtSTBlCT
             Ifiutwrn OlstrWCOURT
                             ot Q.-                                           Judge, U.S. District Court

                                                                              Name and Title of Judge




                                                                              Date
                          Deputy Cteili
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